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                            United States District Court
                                      for the
                            Southern District of Florida

  Joe Morford, Plaintiff,                )
                                         )
  v.                                     ) Civil Action No. 21-20039-Civ-Scola
                                         )
  Maurizio Cattelan, Defendant.          )

                                     Judgment
       The Court has entered summary judgment. (Order, ECF No. 103.) The
 Court now enters judgment in favor of the Defendant, Maurizio Cattelan, and
 against the Plaintiff, Joe Morford, as required by Federal Rule of Civil Procedure
 58. The Court directs the Clerk to close this case.
       Done and ordered in Miami, Florida, on June 12, 2023.

                                             ___________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
